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                                        EXHIBIT – A
c   s
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         7                    IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                        1N AND FOR THE COUNTY OF KING
         8

         9
              CARRIE NEHER,
        10                                                       No. 21-2-10556-1 KNT
                                             Plaintiff,
        11                                                       COMPLAINT FOR DAMAGES
                   vS.
        12
              HOME DEPOT U.S.A., Inc., a foreign profit
        13
                         corporation,
        14
                                             Defendant.
        15

        16           COMES NOW Plaintiff, Carrie Neher, by and through her attorney, Andrew Kim, of PARK ,
        17   CHENAUR & ASSOCIATES, INC., and for cause of action against the Defendants, alleges the
        18- following:

        19                              I.       JURISDICTION, VENUE AND PARTIES
        20   1.1    That at all times material hereto, Plaintiff was a resident of Auburn, Washington.
        21   1.2    On information and belief, Defendant Home Depot U.S.A., Inc., hereinaffter "Home Depot",
        22          is a foreign profit corporation duly authorized to do business in the state of Washington, that
        23          has a place of business located at 26120 104'h Ave SE, Kent WA.
        24   1.3    That all acts and omissions of defendant as herein complained of occurred in Kent, WA,
        25          County of King.
        26   1.4    That the present action and claim is based upon the provisions of Washington law.


              COMPLAINT FOR DAMAGES -1                                      PARK CHENAUR & ASSOC., INC., P.S.
                                                                                  2505 S. 320th St., Suite #100
                                                                                Federal Way, Washington 98003
                                                                              (253) 839-9440 — Fax (253) 839-9485
,   :
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         1   1.5   That this court has full and proper personal jurisdiction over all of the parties hereto and over

         2         the subject matter herein.

         3 11.6    That venue is proper in King County Superior Court pursuant to RCW 4.12.020(3).
         4           H.      FACTUAL BACKGROUND AND CLAIMS FOR NEGLIGENCE

         5 12.1    Upon information and belief, at all times hereinafter mentioned, Defendant Home Depot,

         6         owned and operated a retail store located at 26120 104th Ave SE, Kent, WA 98030.

         7 12.2    Upon information and belief, Defendant Home Depot, and/or their agents/employees

         8         were responsible for the safety of retail customers at their stores.

         9 12.3    Upon information and belief, the Plaintiff was an invitee of the property located at 26120

        10         104t ' Ave SE, Kent, WA 98030 on Apri125,2019.

        11   2.4   Plaintiff was in the garden section of the Home Depot store, looking at flowers, when one

        12         of Defendant Home Depot's employees dropped a large box from above Plaintiff striking
                                                                                     ~
        13         the back of Plaintiffs right leg causing her knee to immediately jerk and buckle.
        14   2.5   As a result of the falling box referenced above, the Plaintiff was injured.

        15   2.6   Defendant Home Depot has a duty to exercise reasonable care to protect invitees from

        16         harm.

        17   2.7   Defendant's employee breached that duty of care by harming Plaintiff.

        18   2.8   Under respondeat superior, Defendant Home Depot is vicariously liable for the negligence

        19         of their employee.

        20 12.9    It was negligent for Defendant Home Depot's employee to drop a large object onto Plaintiff

        21         causing her injuries.

        22 12.10   Defendant Home Depot failed to exercise reasonable care to protect Plaintiff from the being

        23         hit by an object from above, dropped by Defendant Home Depot's employee.

        24 12.11   As a result of the Defendants' negligence and breach of their duties, a large box fell on

        25         Plaintiff and injured her.

        26


              COMPLAINT FOR DAMAGES - 2                                     PARK CHENAUR & ASSOC., INC., P.S.
                                                                                 2505 S. 320th St., Suite #100
                                                                               Federal Way, Washington 98003
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 1 112.12   As a direct and proximate result of Defendant's breach of their duties, the Plaintiff has
 2          suffered personal injuries and special damages in an amount to be proven at trial.
 3 112.13   Plaintiff's damages include, but are not limited to: physical, psychological, and emotional
 4          injuries, loss of enjoyment of life, emotional distress, pain and suffering and other damages
 5          that are currently ongoing and which will be proven at trial.

 6                       M.      LIMITED PHYSICIAN/PATIENT WAIVER
 7 113.1    The Plaintiff hereby waives the physician-patient privilege ONLY to the extent required

 8          by RCW 5.60.060, as limited by the Plaintiffs constitutional rights of privacy, contractual

 9          rights of privacy, and the ethical obligation of physicians and attorneys not to engage in ex
10          parte contact between a treating physician and the patient's legal adversaries.
11                                   IV.     PRAYER FOR RELIEF
12   WHEREFORE, Plaintiff prays for the following relief against Defendant:
13   4.1    For all reasonable and necessary past and future medical expenses, pain and suffering,
14          emotional distress, wage loss, loss of earning capacity, loss of enjoyment of life, and other
15          special and general damages in an amount to be proven at trial;
16   4.2    For all costs and disbursements;

17   4.3    For reasonable and actual attorneys' fees;
18   4.4    For pre- and post judgment interests; and

19   4.5    For such further and other relief as this Court deems just and proper.

20          DATED: August 10, 2021

21                                                PARK CHENAUR & ASSOC., INC., P.S.

22

23

24
                                                  Andrew s. Kim, WSBA #49199
25                                                Attomey for Plaintiff
26


     COMPLAINT FOR DAMAGES - 3                                    PARK CHENAUR & ASSOC., INC., P.S.
                                                                         2505 S. 320th St., Suite #100
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